        Case
        Case1:23-cv-02999-MHC
             1:23-cv-02999-MHC Document
                               Document31
                                        30 Filed
                                           Filed07/31/23
                                                 07/31/23 Page
                                                          Page11of
                                                                of42
                                                                   1

                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                           July 31, 2023

Clerk's Office
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:23-cv-2999-MHC
       U.S.C.A. No.: 00-00000-00
       In re:        Lisa Baker et al v. City of Atlanta et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

        Certified copies of the Notice of Appeal, Clerk’s Judgment, Opinion & Order and
   X    Docket Sheet appealed enclosed.

        This is not the first notice of appeal. Other notices were filed on .

   X    There is no transcript.

        The court reporter is .

        There is sealed material as described below: .

        Other: .

   X    Fees paid on 7/28/23. (Receipt# AGANDC-12777534)

        Appellant has been leave to appeal in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is Magistrate .

   X    The District Judge is Mark H. Cohen.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              Kevin P. Weimer
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/P. McClam
                                                            Deputy Clerk




                                                                                                       42
       Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 2 of 42


                                                                            4months,APPEAL,SUBMDJ
                               U.S. District Court
                      Northern District of Georgia (Atlanta)
                CIVIL DOCKET FOR CASE #: 1:23−cv−02999−MHC

Baker et al v. City of Atlanta et al                          Date Filed: 07/06/2023
Assigned to: Judge Mark H. Cohen                              Jury Demand: Plaintiff
Cause: 28:1331 Federal Question: Other Civil Rights           Nature of Suit: 440 Civil Rights: Other
                                                              Jurisdiction: Federal Question
Plaintiff
Lisa Baker                                      represented by George Brian Spears
                                                               Spears & Filipovits, LLC
                                                               315 W Ponce de Leon Ave
                                                               Suite 865
                                                               Decatur, GA 30030
                                                               404−905−2225
                                                               Fax: 404−905−8216
                                                               Email: bspears@civil−rights.law
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Gerald R. Weber
                                                               Law Office of Gerald R Weber, LLC
                                                               PO BOX 5391
                                                               Atlanta, GA 31107
                                                               404−522−0507
                                                               Email: wgerryweber@gmail.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Jeffrey Filipovits
                                                               Spears & Filipovits, LLC
                                                               315 W Ponce de Leon Ave
                                                               Suite 865
                                                               Decatur, GA 30030
                                                               678−237−9302
                                                               Fax: 404−905−8216
                                                               Email: jeff@civil−rights.law
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Wingo F. Smith
                                                               Spears & Filipovits, LLC
                                                               315 W Ponce de Leon Ave
                                                               Suite 865
                                                               Decatur, GA 30030
                                                               404−905−2225
                                                               Fax: 404−880−3461
                                                               Email: wingo@civil−rights.law


                                                                                                        1
       Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 3 of 42


                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Jacqueline Dougherty                 represented by George Brian Spears
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Gerald R. Weber
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Jeffrey Filipovits
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Wingo F. Smith
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Keyanna Jones                        represented by George Brian Spears
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Gerald R. Weber
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Jeffrey Filipovits
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Wingo F. Smith
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Amelia Weltner                       represented by George Brian Spears
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED


                                                                              2
      Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 4 of 42


                                                   Gerald R. Weber
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Jeffrey Filipovits
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Wingo F. Smith
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
City of Atlanta                     represented by Jane D. Vincent
                                                   Bondurant Mixson & Elmore, LLP
                                                   1201 West Peachtree Street, N.W.
                                                   Ste 3900
                                                   Atlanta, GA 30309−3417
                                                   404−881−4147
                                                   Email: vincent@bmelaw.com
                                                   ATTORNEY TO BE NOTICED

                                                   Matthew Sellers
                                                   Bondurant Mixson & Elmore LLP
                                                   1201 W Peachtree St NW
                                                   Ste 3900
                                                   Atlanta, GA 30309
                                                   404−881−4186
                                                   Email: sellers@bmelaw.com
                                                   ATTORNEY TO BE NOTICED

                                                   Robert Lawrence Ashe , III
                                                   Bondurant Mixson & Elmore, LLP
                                                   1201 West Peachtree Street, N.W.
                                                   Ste 3900
                                                   Atlanta, GA 30309−3417
                                                   404−881−4100
                                                   Fax: .
                                                   Email: ashe@bmelaw.com
                                                   ATTORNEY TO BE NOTICED

Defendant
State of Georgia                    represented by Alkesh B. Patel
TERMINATED: 07/25/2023                             Attorney General's Office−Atl
                                                   Department of Law
                                                   40 Capitol Square, SW

                                                                                      3
     Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 5 of 42


                                                               Atlanta, GA 30334
                                                               404−463−2144
                                                               Email: apatel@law.ga.gov
                                                               ATTORNEY TO BE NOTICED

                                                               Logan B. Winkles
                                                               Office of the Attorney General−GA
                                                               40 Capitol Square, SW
                                                               Atlanta, GA 30334−1300
                                                               404−615−6249
                                                               Email: lwinkles@law.ga.gov
                                                               ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
07/06/2023   1        COMPLAINT with Jury Demand filed by Jacqueline Dougherty, Keyanna
                      Jones, Lisa Baker, Amelia Weltner. (Filing fee $402, receipt number
                      AGANDC−12718632) (Attachments: # 1 Exhibit 1 − City Code § 66−37, # 2
                      Exhibit 2 − Email from City Clerk, # 3 Exhibit 3 − Referendum Form, # 4
                      Exhibit 4 − Verifications, # 5 Civil Cover Sheet (Not completed)(tmf) Please
                      visit our website at http://www.gand.uscourts.gov/commonly−used−forms to
                      obtain Pretrial Instructions and Pretrial Associated Forms which includes the
                      Consent To Proceed Before U.S. Magistrate form. (Entered: 07/06/2023)
07/06/2023   2        MOTION for Preliminary Injunction by Lisa Baker, Jacqueline Dougherty,
                      Keyanna Jones, Amelia Weltner. (Attachments: # 1 Plaintiffs' Brief in Support
                      of Motion for Preliminary Injunction)(tmf) (Entered: 07/06/2023)
07/06/2023            Submission of 2 MOTION for Preliminary Injunction, to District Judge Mark H.
                      Cohen. (tmf) (Entered: 07/06/2023)
07/06/2023   3        PROPOSED SUMMONS filed by Lisa Baker, Jacqueline Dougherty, Keyanna
                      Jones, Amelia Weltner as to City of Atlanta (Filipovits, Jeffrey) (Entered:
                      07/06/2023)
07/06/2023   4        PROPOSED SUMMONS filed by Lisa Baker, Jacqueline Dougherty, Keyanna
                      Jones, Amelia Weltner as to State of Georgia (Filipovits, Jeffrey) (Entered:
                      07/06/2023)
07/06/2023   5        NOTICE by Lisa Baker, Jacqueline Dougherty, Keyanna Jones, Amelia Weltner
                      of filing Civil Cover Sheet (Filipovits, Jeffrey) (Entered: 07/06/2023)
07/06/2023   6        ORDER: In order to expedite the consideration of Plaintiffs' Motion for
                      Preliminary Injunction, it is hereby ORDERED as follows: (1) Plaintiffs shall
                      cause service of the Complaint, the Motion for Preliminary Injunction, and this
                      Court's Order to be made on Defendants and file proof of such service, or
                      provide proof of the waiver of such service by Defendants' counsel, as soon as
                      possible. (2) Defendants shall file a brief in response to Plaintiffs' Motion for
                      Preliminary Injunction no later than seven (7) days after service is perfected or
                      waived. (3) Plaintiffs shall file a reply to Defendants' response brief no later than
                      seven (7) days after the filing of the response brief. Signed by Judge Mark H.
                      Cohen on 7/6/2023. (tmf) (Entered: 07/06/2023)
07/07/2023   7

                                                                                                              4
     Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 6 of 42



                   Electronic Summons Issued as to City of Atlanta, State of Georgia.
                   (Attachments: # 1 Summons State of Georgia)(tmf) (Entered: 07/07/2023)
07/10/2023    8    CERTIFICATE OF SERVICE filed by Lisa Baker, Jacqueline Dougherty,
                   Keyanna Jones, Amelia Weltner (Filipovits, Jeffrey) (Entered: 07/10/2023)
07/10/2023    9    Return of Service Executed by Jacqueline Dougherty, Keyanna Jones, Lisa
                   Baker, Amelia Weltner. State of Georgia served on 7/10/2023, answer due
                   7/31/2023. (Filipovits, Jeffrey) (Entered: 07/10/2023)
07/10/2023   10    ACKNOWLEDGMENT OF SERVICE Executed filed by City of Atlanta. City
                   of Atlanta served on 7/7/2023. (Ashe, Robert) (Entered: 07/10/2023)
07/10/2023   11    Notice for Leave of Absence for the following date(s): July 25−August 14,
                   2023, by Robert Lawrence Ashe, III. (Ashe, Robert) (Entered: 07/10/2023)
07/11/2023   12    NOTICE of Appearance by Robert Lawrence Ashe, III on behalf of City of
                   Atlanta (Ashe, Robert) (Entered: 07/11/2023)
07/11/2023   13    NOTICE of Appearance by Jane D. Vincent on behalf of City of Atlanta
                   (Vincent, Jane) (Entered: 07/11/2023)
07/11/2023   14    NOTICE of Appearance by Matthew Sellers on behalf of City of Atlanta
                   (Sellers, Matthew) (Entered: 07/11/2023)
07/14/2023   15    RESPONSE re 2 MOTION for Preliminary Injunction filed by City of Atlanta.
                   (Ashe, Robert) (Entered: 07/14/2023)
07/17/2023   16    RESPONSE in Opposition re 2 MOTION for Preliminary Injunction filed by
                   State of Georgia. (Winkles, Logan) (Entered: 07/17/2023)
07/17/2023   17    NOTICE of Appearance by Logan B. Winkles on behalf of State of Georgia
                   (Winkles, Logan) (Entered: 07/17/2023)
07/18/2023   18    NOTICE of Appearance by Alkesh B. Patel on behalf of State of Georgia (Patel,
                   Alkesh) (Entered: 07/18/2023)
07/20/2023   19    RESPONSE in Opposition re 2 MOTION for Preliminary Injunction Amended
                   filed by State of Georgia. (Winkles, Logan) (Entered: 07/20/2023)
07/21/2023   20    −−−DOCUMENT FILED IN ERROR−−− Guidelines for Discovery and Motion
                   Practice. Signed by Magistrate Judge J. Clay Fuller on 7/21/2023. (tmf)
                   Modified on 7/21/2023 to add red text(tmf). (Entered: 07/21/2023)
07/21/2023         Notification of Docket Correction re 20 −−−DOCUMENT FILED IN
                   ERROR−−− Guidelines for Discovery and Motion Practice. Signed by
                   Magistrate Judge J. Clay Fuller on 7/21/2023. (tmf) Modified on 7/21/2023 to
                   add red text(tmf). (Entered: 07/21/2023)
07/21/2023   21    REPLY BRIEF re 2 MOTION for Preliminary Injunction filed by Lisa Baker,
                   Jacqueline Dougherty, Keyanna Jones, Amelia Weltner. (Attachments: # 1
                   Exhibit 1 − City Charter 2−501, # 2 Exhibit 2 − Atlanta Ordinance 23−O−1257,
                   # 3 Exhibit 3 − Atlanta Ordinance 21−O−0367, # 4 Exhibit 4 − Atlanta Code
                   1−10)(Filipovits, Jeffrey) (Entered: 07/21/2023)
07/21/2023   22    MOTION to DROP STATE OF GEORGIA AS A PARTY PURSUANT TO FED.
                   R. CIV. P. 21 by Lisa Baker, Jacqueline Dougherty, Keyanna Jones, Amelia


                                                                                                   5
     Case 1:23-cv-02999-MHC Document 31 Filed 07/31/23 Page 7 of 42



                   Weltner. (Smith, Wingo) Modified on 7/25/2023 to edit relief(tmf). (Entered:
                   07/21/2023)
07/25/2023   23    ORDER: Before the Court is Plaintiffs' Motion to Drop State of Georgia as a
                   Party Pursuant to Fed. R. Civ. P. 21 [Doc. 22 ]. As indicated by its title.
                   Plaintiffs have filed their motion pursuant to Rule 21 which gives the Court
                   "[o]n motion or on its own" the authority to "add or drop a party." FED. R.
                   CIV.P. 21. Although Plaintiffs have filed the present motion pursuant to Rule
                   21, the Court notes that Plaintiffs have the absolute right to amend their
                   Complaint within twenty−one days of serving it or service of a motion under
                   Rule 12(b) of the Federal Rules of Civil Procedure. See Blackburn v. Shire US
                   Inc, 18 F.4th 1310, 1317 (11th Cir. 2021) (citing FED. R. Civ. P. 15). Because
                   Plaintiffs have an absolute right to amend their Complaint to dismiss the State of
                   Georgia, the Court finds that there is grounds for granting the present Motion to
                   Dismiss. Accordingly, it is hereby ORDERED that Plaintiffs' Motion to Drop
                   State of Georgia as a Party Pursuant to FED. R. Qv. P. 21 [Doc. 22 ] is
                   GRANTED. Signed by Judge Mark H. Cohen on 7/25/2023. (tmf) (Entered:
                   07/25/2023)
07/25/2023   24    REPLY BRIEF re 2 MOTION for Preliminary Injunction filed by City of
                   Atlanta. (Attachments: # 1 Exhibit A− Email dated 6/21/2023 with Referendum
                   Petition, # 2 Exhibit B− Email dated 6/14/2023 with Referendum Petition, # 3
                   Exhibit C− Email dated 6/14/2023 with Referendum Petition, # 4 Exhibit D−
                   Email dated 6/14/2023 with Referendum Petition)(Ashe, Robert) (Entered:
                   07/25/2023)
07/26/2023   25    RESPONSE re 22 Motion to Dismiss Amicus Brief of State of Georgia filed by
                   State of Georgia. (Winkles, Logan) (Entered: 07/26/2023)
07/27/2023   26    ORDER: It is hereby ORDERED that Plaintiffs' Motion for Preliminary
                   Injunction [Doc. 2 ] Is GRANTED. Defendant City of Atlanta is
                   PRELIMINARILY ENJOINED from enforcing the portion of City of Atlanta,
                   Ga. Code of Ordinances § 66−37(b) that requires the person collecting
                   signatures to swear that such person is a resident of the City of Atlanta. The
                   Court further ORDERS the following as a part of its preliminary injunction
                   relief: See document for specifics. Signed by Judge Mark H. Cohen on
                   7/27/2023. (tmf) (Entered: 07/27/2023)
07/28/2023   27    Defenses and ANSWER to 1 COMPLAINT by City of Atlanta. Discovery ends
                   on 12/26/2023.(Ashe, Robert) Please visit our website at
                   http://www.gand.uscourts.gov to obtain Pretrial Instructions. (Entered:
                   07/28/2023)
07/28/2023   28    NOTICE OF APPEAL as to 26 Order on Motion for Preliminary Injunction,, by
                   City of Atlanta. Filing fee $ 505, receipt number AGANDC−12777534.
                   Transcript Order Form due on 8/11/2023 (Ashe, Robert) (Entered: 07/28/2023)
07/28/2023   29    MOTION to Stay the Preliminary Injunction by City of Atlanta. (Ashe, Robert)
                   (Entered: 07/28/2023)
07/31/2023   30    USCA Appeal Transmission Letter to USCA− 11th Circuit re: 28 Notice of
                   Appeal filed by City of Atlanta. (pjm) (Entered: 07/31/2023)




                                                                                                        6
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 8
                                                              1 of 42
                                                                   32




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


LISA BAKER, JACQUELINE
DOUGHERTY, KEYANNA JONES,
and AMELIA WELTNER,

       Plaintiffs,                            CFVIL ACTION FILE

V.                                            NO. 1:23-CV-2999-MHC

 CITY OF ATLANTA,

       Defendant.


                                      ORDER

      This matter is before the Court on Plaintiffs' Motion for Preliminary

Injunction ('Tls.' Mot.") [Doc. 2]. Plaintiffs ask this Court to preliminary enjoin

Defendant City of Atlanta (the "City") from enforcing a restriction which bars

them as nonresidents of the City from collecting signatures on a referendum

petition to repeal City of Atlanta Ordinance 21-0-0367. For the reasons discussed

below. Plaintiffs' Motion is GRANTED.

I. BACKGROUND

      On September 7, 2021, an ordinance was adopted by the City to authorize its

Mayor to lease 85 acres of land owned by the City in the South River Forest area

of unincorporated DeKalb County to the Atlanta Police Federation for the




                                                                                      7
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 9
                                                              2 of 42
                                                                   32




construction of a new Public Safety Training Center (the 'Training Center") to

provide training facilities for the Atlanta Police Department and Atlanta Fire

Rescue Department. City of Atlanta Ordinance 21-0-0367 (Sept. 7, 2021); see

also https://atltramingcenter.com (last visited July 26, 2023); Verified Compl.

("CompL") [Doc. 1] ^ 8. The ground lease agreement with the Atlanta Police

Federation was later signed by the Mayor of the City of Atlanta and construction

on the Training Center has proceeded. As alleged in the Complaint, there has been

significant public opposition to both the construction and location of the Training

Center. Compl.^9-10.


      On June 5, 2023, the Atlanta City Council approved $33.5 million of public

funding for the Training Center. Id ^ 15-16. OnJune7,2023,MariahParker

("Parker"), on behalf of a group of individuals, submitted to the City's Municipal

Clerk a proposed petition for a referendum election to repeal City of Atlanta

Ordinance 21-0-0367. Letter from Referendum Coalition to Foris Webb, III (June

7, 2023) [Doc. 1-2 at 2-4]; Compl. ^ 7. On June 14, 2023, A. Vanessa Walden

("Walden"), the Interim Municipal Clerk, sent an e-mail to Parker stating that "the

draft petition you have submitted is not approved as to form" because it "does not

comply with the legal requirement that the petition contain a place on each form

for the person collecting signatures to provide his or her name, street address, city,




                                                                                         8
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page10
                                                              3 of
                                                                of32
                                                                   42




county, state, ZIP code, and telephone number and to swear that he or she is a


resident of the City ofAtlanta[.]" E-mail from A. Vanessa Waldon to Mariah

Parker (June 14, 2023) [Doc, 1-2 at 1]; see City of Atlanta, Ga. Code of

Ordinances ("Atlanta Municipal Code") § 66-3 7(b) (requiring the person collecting

signatures to swear that such person is a resident of the City).

      Based on the City's denial of the referendum petition, the "Cop City Vote

coalition1 submitted a proposed petition which included the required attestation

that the persons collecting signatures were residents of the City of Atlanta. CompL

^ 47. On June 21, 2023, Waldon approved and distributed official copies of the

referendum petition to that coalition, starting the 60-day clock to collect signatures.

IcL ^ 48-49; see also Atlanta Municipal Code § 66-37(b) ("The collection of

signatures for the petition shall begin on the day the municipal clerk provides

official copies to the sponsor of the petition. A petition authorized by this section

shall not be accepted by the counsel for verification if more than 60 days have




 Although not entirely clear from the Complaint, it appears that the "Referendum
Coalition" which sent the June 7, 2023, letter to the Municipal Clerk is the same
coalition referred to in the Complaint as the "Cop City Vote" or "Stop Cop City"
coalition. Compare CompL ^ 45, 47, 50, with June 7, 2023, Letter to Foris Webb,
Ill from "Referendum Coalition" [Doc. 1-2].




                                                                                          9
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page11
                                                              4 of
                                                                of32
                                                                   42




elapsed since the date the sponsor of the petition first obtained copies of the

petition from the municipal clerk.").

      Plaintiffs are residents of unincorporated DeKalb County, most of whom

live within four miles of the proposed Training Center, but are not residents of the

City. Compl. ^ 18, 25, 29-30, 33-34. They want to be able to collect signatures

on a petition to repeal City of Atlanta Ordinance 21-0-0367 but are unable to do so

because they are not residents of the City. 1± ^ 22, 24, 27-28, 32, 36.

      On July 6, 2023, Plaintiffs filed a Verified Complaint against the City of

Atlanta alleging that Atlanta Municipal Code § 66-37(b) violates their First

Amendment rights to speech and to petition their government by requiring those

who gather signatures on a referendum petition to be residents of the City. Id.

^ 54-63. Atlanta Municipal Code § 66-37(b) provides, in pertinent part, as

follows:

      The sponsor of a petition authorized by this section shall obtain copies
      of all official petitions from the municipal clerk. The municipal clerk
      shall approve all petitions as to form. The municipal clerk shall provide
      a place on each form for the person collecting signatures to provide
       such person's name, street address, city, county, state, ZIP code and




2 Plaintiffs' Complaint also named as a Defendant the State of Georgia; however,
on July 21, 2023, Plaintiffs moved to drop the State of Georgia as a party
defendant, which motion was granted by this Court's Order of July 25, 2023 [Doc.
231.


                                           4

                                                                                       10
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page12
                                                              5 of
                                                                of32
                                                                   42




      telephone number and to swear that such person is a resident of the city
      and that the signatures were collected inside the boundaries of the city.

Atlanta Municipal Code § 66-37(b) (emphasis added). Atlanta Municipal Code

  66-3 7(b) follows the relevant provision in the State of Georgia's Municipal

Home Rule Act of 1965; namely, O.C.G.A. § 36-35-3(b)(2)(C). See Compl. fff 3,

38-39,42-44,54,62.


      Among the remedies sought by Plaintiffs is for the Court to "[ejnter a

preliminary .. . injunction that (1) prohibits] Defendants from enforcing the

residency requirement of Atlanta Municipal Code § 66-3 7(b)," (2) requires the

City to issue new official copies of the referendum petition that removes any

residency restriction "for people circulating the petition,"3 and (3) requires that the

time period for collecting signatures be restarted and existing properly collected

signatures be accepted. CompL, Request for Relief at 14. Plaintiffs also filed a

Motion for Preliminary Injunction, which asks the Court for that same relief. Pl.'s

Mot. at 3-4.




  Atlanta Municipal Code § 66-3 7(b) does not require that petition "circulators" be
residents of the City, but only that those individuals who are "collecting
signatures" be City residents.




                                                                                          11
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page13
                                                              6 of
                                                                of32
                                                                   42




II. LEGAL STANDARD

      In order to obtain a preliminary injunction, a plaintiff must demonstrate:

(1) a substantial likelihood of success on the merits; (2) that irreparable Injury will

be suffered if the relief is not granted; (3) that the threatened injury outweighs the

harm the relief would inflict on the non-movant; and (4) that granting the relief

would not be adverse to the public interest. Scott v. Roberts, 612 F.3d 1279, 1290

(llth Cir. 2010); Schiavo exrel. Schindlerv. Schiavo, 403 F.3d 1223, 1225-26

(11th Cir. 2005). A preliminary injunction is an extraordinary remedy which a

court should grant only when the movant clearly carries the burden of persuasion

as to each of the four prerequisites. Four Seasons Hotels & Resorts, B.V. v.


Consorclo Barr, S.A., 320 F.3d 1205, 1210 (11th Cir. 2003). The decision whether

to grant preliminary mjunctive relief is within the broad discretion of the district

court. Democratic Party ofGa.. Inc. v. Crittenden, 347 F. Supp. 3d 1324,1339


(N.D. Ga. 2018). The likelihood of success on the merits ordinarily is considered

the most important of the four factors. Garcia-Mir v. Meese, 781 F.2d 1450, 1453

(llth Cir. 1986).

m. DISCUSSION

       Plaintiffs allege they have a substantial likelihood of success on the merits

because (1) the requirement that petition signature gatherers be residents of the




                                                                                          12
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page14
                                                              7 of
                                                                of32
                                                                   42




City is subject to strict scrutiny since it involves core political speech, (2) the City

cannot establish that the residency requirement for signature gatherers is narrowly

tailored to serve any compelling governmental interest, (3) Plaintiffs will suffer an

irreparable injury if the injunction does not issue, and (4) the balance of interests

favors the issuance of an injunction to permit nonresidents to gather signatures.

Pis.' Br. in Supp. of Pis.' Mot [Doc. 2-1] at 5-12. Plaintiffs represent that an


evidentiary hearing is unnecessary and do not request one. Id. at 4.


       In response, the City argues that (1) the residency verification requirement

for signatire gatherers is not subject to strict scrutiny, (2) the City's interest in self-

governance is a legitimate restriction on Plaintiffs' right to participate in the

political process, (3) Plaintiffs cannot show irreparable injury because there is no

statutory authority for the referendum sought by Plaintiffs and the subject lease

already has been executed, and (4) the City's interest to insure the integrity of the

political process outweighs Plaintiffs' alleged injury. Def. City of Atlanta's Resp.

to Pis.' Mot ("City's Opp'n") [Doc. 15] at 2-20. The City also contends that if the

Court finds that the residency requirement for signature gatherers in Atlanta

Municipal Code § 66-3 7(b) is unconstkutional, then the ordinance must be struck

down In its entirety because the residency requirement for petition circulators

cannot be severed from the remainder of the ordinance. City's Opp'n at 21-23.


                                             7

                                                                                              13
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page15
                                                              8 of
                                                                of32
                                                                   42




      In its reply, Plaintiffs assert that the City offers no justification for the

residency restriction, the City's charter provides a legal basis for the manner in


which the proposed referendum seeks to repeal the ordinance, the referendum's

ultimate legality is not ripe for review, the balance of equities favor an injunction,

and the residency restriction can be severed from the remainder of the ordinance.

Reply Br. in Supp. of Pis/ Mot ("Reply Br.") [Doc. 21] at 3-14.4




4 The City has filed a surreply to address purported "incorrect [] arguments" made
by Plaintiffs in their reply brief. The City's Sur-Reply to Pis/ Mot. ("City's
Surreply") [Doc. 24]. "Neither the Federal Rules of Civil Procedure nor this
Court's local rules authorize the filing of surreplies." Fedrick v. Mercedes-Benz
USA, LLC, 366 F. Supp. 2d 1190, 1197 (N.D. Ga. 2005) (citation omitted). The
Court has discretion to pennit the filing of a surreply, which discretion should be
exercised in favor of permitting the filing "only where a valid reason for such
additional briefing exists, such as where the movant raises new arguments in its
reply brief." Id. The City has not filed a motion for leave to file the surreply,
instead requesting permission to do so within its actual filing. City's Surreply at 2.
With all due respect to the City, there is not much in the Surreply that assists the
Court in resolving the pending motion. To the extent the Court deems it necessary
to cite to the Surreply, it will do so in this Order,


                                            8

                                                                                         14
       Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                              Document31
                                       26 Filed
                                          Filed07/31/23
                                                07/27/23 Page
                                                         Page16
                                                              9 of
                                                                of32
                                                                   42




      A. Plaintiffs Are Likely to Succeed on the Merits of Their
           Constitutional Challenge to the Residency Restriction for
           Signature Gatherers Contained in Atlanta Municipal Code § 66-
             37(b).

             1. The Residency Restriction for Signature Gatherers is
                      Subject to Strict Scrutiny.

      The First Amendment, as made applicable to the states through the

Fourteenth Amendment, prohibits states from enacting laws "abridging the

freedom of speech." U.S. Const. amend I; Mclntvre v. Ohio Elections Comm'n,


514 U.S. 334, 336 & n.l (1995). The Supreme Court has stated that, where a state

permits initiatives through a petitioning process, "the circulation of a petition [for a

voter initiative] involves the type of interactive communication concerning

political change that is appropriately described as 'core political speech'" under the

First Amendment Meyerv. Grant, 486 US. 414, 421-22 0988). In Meyer, the

Supreme Court held that a Colorado state law that criminalized the use of paid

petition circulators violated the First Amendment because it imposed a significant

burden upon political speech which could not be justified as a manner of protecting

ballot integrity. Id, at 427-28.


       However, the First Amendment does not bar all restrictions on circulating

petitions, and the states have "considerable leeway to protect the integrity and

reliability of the initiative process, as they have with respect to election processes




                                                                                           15
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 17
                                                              10 of 42
                                                                    32




generally." Buckleyv. Am. Const. L. Found., Inc., 525 U.S. 182, 191 (1999)


(citation omitted). In Buckley, the Supreme Court upheld Colorado's requirements

that petition circulators be at least eighteen years old, that the petition circulation

period be limited to six months, and that circulators attach an affidavit with the

circulator's name and address as reasonable regulations of the ballot-initiative

process, but struck down requirements that circulators be registered voters, wear


certain identification badges, and provide certain disclosures if they are paid. Id. at

192-205. The Supreme Court noted that the plaintiffs in Buckley "did not

challenge Colorado's right to require that all circulators be residents" and stated

that "assuming that a residence requirement would be upheld as a needful

integrity-policing measure—a question we ... have no occasion to decide because


the parties have not placed the matter of residence at issue—the added registration

requirement is not warranted." Id at 197.5 The Court in BucMey reiterated the

holding in Meyer that laws which "limit the number of voices who will convey the

initiative proponents' message and, consequently, cut down the size of the


audience proponents can reach" impose a significant burden on political



5 The City argues that if you consider comments from the concurring and
dissenting opinions in Buckley, a solid minority of the Court at that time arguably
may have upheld a residency requirement for petition circulators. City's Opp'n at
6-8. Unfortunately for the City, that math does not equate to binding precedent.


                                            10

                                                                                          16
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 18
                                                              11 of 42
                                                                    32




expression. Id at 194-95 (quoting Meyer, 486 U.S. at 422, 423) (internal

alterations accepted).

      Although the Eleventh Circuit has not opined as to whether a requirement

that petition circulators or signature gatherers be residents of the state or county in

which the petition is to be circulated should be evaluated under strict scrutiny, a

number of other circuits agree that such a requirement is a severe burden on First


Amendment rights and subject to a strict scrutiny analysis. See Pierce v. Johnson,

44 F.4th 853, 861 (9th Cir. 2022) (holding that Montana's requirement that

initiative petition signature gatherers be state residents "imposes a severe burden

on the First Amendment rights of both out-of-state residents and in-state

proponents and is therefore subject to strict scrutiny"); We The People PAC v.

Bellows, 40 F.4th 1, 14 (1st Cir. 2022) (holding that Maine's requirement that

petition circulators be state residents is a severe burden on political speech subject

to strict scrutiny); Yes on Term Limits, Inc. v. Savage, 550 F.3d 1023, 1028 (10th

Cir. 2008) ("[SJtrict scmtiny is the correct legal standard under which to analyze

Oklahoma's ban on non-resident circulators.").6



6 Although not directly on point, still other circuits have applied strict scrutiny
when considering challenges to state residency requirements for nomination
petition circulators on behalf of candidates for office, Wilmoth v. Sec'y of New
Jersey, 731 F. App'x 97, 103 f3d Cir. 2018); Libertarian Party ofVa. v. Judd, 718
F.3d 308, 317 (4th Cir 2013); Lerman v. BcL of Elections in City of New York,
                                           11

                                                                                          17
      Case 1:23-cv-02999-MHC Document 31
                                      26 Filed 07/31/23
                                               07/27/23 Page 19
                                                             12 of 42
                                                                   32




      The City argues that strict scrutiny should not apply because its requirement

that signaUire gatherers be City residents does not infringe on the political speech

of nonresidents. City's Opp'n at 3-5. But the residency requirement clearly limits

the number of persons who can promote the petition's message thereby limiting the

potential number of the City's residents who can receive the political message and

making it less likely that the proponents of the petition can gather sufficient

signatures to place the initiative on the ballot. See Mever, 486 U.S. at 422-23

(discussing how a severe restriction on petition circulators "limits the number of

voices who will carry the [circulators'] message" thereby "limit[ing] the size of the

audience they can reach," and "makes it less likely that [the circulators'] wil

gamer the number of signatures necessary to place the matter on the ballot").

      Like the other circuits which have considered this issue, this Court holds that

the City's residency restriction for signature gatherers in Atlanta Municipal Code

§ 66-3 7(b) is subject to strict scrutiny because it imposes a severe burden on core

political speech.



232 F.3d 135, 146 (2d Cir. 2000); Krislov v. Rednour, 226 F.3d 851, 860-61 (7th
Cir. 2000). And in the one circuit that has upheld the constitutionality of a state
residency requirement for circulators of initiative petitions, the court apparently
applied strict scrutiny as it upheld the restriction based on the state's "compelling
interest" in preventing fraud. Initiative & Referendum Institute v. Jaeger, 241 F.3d
614, 616 (8th Cir. 2001).

                                          12

                                                                                        18
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 20
                                                              13 of 42
                                                                    32




              2. The Residency Restriction for Signature Gatherers is Not
                   Narrowly Tailored to Serve a Compelling Governmental
                     Interest.


       Because the City argues that the residency restriction is not subject to strict

scrutiny, it fails to present any argument that the requirement is narrowly tailored

to serve a compelling governmental interest. Instead, the City asserts the

restriction serves a legitimate interest of restricting the right to participate in the

political process only to its own residents,7 citing as its only supporting authority

Holt Civic Club v. City ofTuscaloosa, 439 U.S. 60 (1978). City's Opp'n at 8-10.

       In Holt, residents of an unincorporated community outside the city limits of

Tuscaloosa, Alabama brought a class action complaint to challenge the

constitutionality of the city's jurisdiction over the community's police, sanitary,

and business licensing powers without permitting its residents to vote in

Tuscaloosa's elections. Id. at 61-63. The Supreme Court concluded that


"Alabama's police jurisdiction statutes violate neither the Equal Protection Clause

nor the Due Process Clause of the Fourteenth Amendment" because "state




7 The City cites only to its right to self-govemance as its legitimate interest and
makes no argument that the residency restriction on signature gatherers somehow
protects against petition fraud. Although it argues that the balance of equities
factor should be decided in its favor based on "ensuring the integrity of the
political process," City's Opp'n at 19, it offers no examples and does not explain
how the residency requirement for signature gatherers would accomplish that goal.


                                            13

                                                                                          19
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 21
                                                              14 of 42
                                                                    32




legislatures have a legitimate interest in seeing that this substantial segment of the

population does not go without basic municipal services" that are paid for through

license fees. IcL at 74-75. Holt had nothing to do with a challenge under the First


Amendment or a review of a restriction on the residency of petition circulators or

signature gatherers. The City chooses to focus on the portion of the opinion which

discusses the right of a municipality to "restrict the right to participate in its

political processes to those who reside within its borders." City's Opp'n at 9-10

(quoting Holt, 439 U.S. at 68-9). The full text of that reference states as follows:

      No decision of this Court has extended the "one man, one vote"
       principle to individuals residing beyond the geographic confines of the
       governmental entity concerned, be it the State or Its political
       subdivisions. On the contrary, our cases have uniformly recognized
       that a government unit may legitimately restrict the right to participate
       in its political processes to those who reside within its borders. Bona
       fide residence alone, however, does not automatically confer the right
       to vote on all matters, for at least in the context of special interest
       elections the State may constitutionally dlsfranchise residents who lack
       the required special interest in the subject matter of the election.

Holt, 439 US. at 68-69_(citations omitted).

       The issue in this case is not that Plaintiffs are being denied the right to vote

in the City's elections despite having to pay for certain municipal services or

because they are impacted by the construction of the Training Center. The issue is

whether the City's residency restriction upon signature gatherers for a



                                            14

                                                                                          20
      Case 1:23-cv-02999-MHC Document 31
                                      26 Filed 07/31/23
                                               07/27/23 Page 22
                                                             15 of 42
                                                                   32




petition to repeal a municipal ordinance is narrowly tailored to serve the City's

interest in self-government. Holt offers no guidance on that issue, but other recent

Circuit decisions do. See e.e., We the People PAC, 40 K4th at 22 ("[T]he fact that

Holt upheld a limitation on the voting rights of non-residents does not show that a

limitation on the right of nonresidents to circulate a petition is constitutional.").

      In Pierce, the State of Montana contended that the requirement that initiative

petition signature gatherers be residents of Montana was narrowly tailored to

protect the right of self-govemance, which is a compelling state interest. Pierce,

44 F.4th at 863. The court found that the restriction was not narrowly tailored to

advance the interest in self-government:


      Montana offers no evidence or explanation for why this interest [in self-
      government] would not be vindicated through a system requiring that
      official proponents, petition signers, and voters on initiatives be
      residents. These restrictions on who may share in the legislative power
      at play in the initiative process would more directly protect the interest
      in self-government with only a minimal burden on political speech.
      Based on the record here, there is no evidence that a residency
      requirement for signature gatherers is necessary to adequately serve
      Montana's self-government interest.


      Montana's residency requirement bans non-residents from participating
      in a form of core political speech entirely rather than confining the
      restriction to the narrower subset of conduct unique to residents in self-
      government. While it is one thing to limit carrying out the functions of
      self-government to residents, limiting core political speech to residents
      even on matters of state elections is a far broader restriction, and that
      restriction is not narrowly tailored here.


                                            15

                                                                                        21
      Case 1:23-cv-02999-MHC Document 31
                                      26 Filed 07/31/23
                                               07/27/23 Page 23
                                                             16 of 42
                                                                   32




Id,


      Similarly, In this case, the City's residency restriction for petition signers


and referendum voters Is narrowly tailored to serve a compelling interest of self-

government. But requiring signature gatherers to be residents of the City imposes

a severe burden on core political speech and does little to protect the City's interest

in self-govemance. Indeed, the City correctly takes the position that Atlanta

Municipal Code § 66-3 7(b) does not prevent nonresidents from circulating

petitions, but only from gathering signatures. See City's Opp'n at 2 ("Atlanta's

ballot initiative ordinance does not prevent nonresidents from .. . soliciting

signatures .. ."), 5 ("[N]onresidents are free to solicit and witness signatures .. .").


Because only residents can sign petitions and vote in referendum elections, and

nonresidents can participate in circulating petitions, it can hardly be contended that

the prohibition on nonresidents being signature gatherers is narrowly tailored to

serve the interest ofself-govemance. See We the People PAC, 40 F.4th at 22

("[W]e fail to see why banning non-resident circulators is narrowly tailored to

serve [the self-government] interest. After all, only the individuals who must live

under any resulting law may sign the petition, and only Maine voters may vote to

approve any measure that does reach the ballot by way of a successful petition.").




                                           16

                                                                                           22
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 24
                                                              17 of 42
                                                                    32




      Consequently, based on the record before the Court, the portion of Atlanta

Municipal Code § 66-3 7(b) which restricts referendum petition signature gatherers

to the City's residents is not narrowly tailored to serve the City's compelling

interest in self-government. Plaintiffs have established that they are likely to


succeed in showing that the residency requirement for signature gatherers

contained in Atlanta Municipal Code § 66-3 7(b) violates the First Amendment.

      B. Plaintiffs Will Suffer Irreparable Injury in the Absence of an
             Injunction.


      "[E]ven if Plaintiffs establish a likelihood of success on the merits, the

absence of a substantial likelihood of irreparable injury would, standing alone,

make preliminary injunctive relief improper." Siegel v. LePore, 234 F.3d 1 163,

1176 (11th Cir. 2000). "[T]he asserted irreparable injury 'must be neither remote

nor speculative, but actual and imminent.'" ]A (quoting Ne. Fla. Chapter of the


Ass'n of Gen. Contractors v. Cit^ of Jacksonville, 896 F.2d 1283, 1285 (llth Cir.

1990)). In the context of constitutional claims, it is well-settled that "[t]he loss of

First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury." Elrod v. Bums, 427 U.S. 347, 373 (1976); see also

Gate v. Oldham. 707 F.2d 1176, 1188 (1 Ith Cir. 1983) (same).




                                           17

                                                                                          23
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 25
                                                              18 of 42
                                                                    32




      The City argues in Its initial response that because there is no statutory

authority for the referendum petition for which Plaintiffs seek to gather signatures,


Plaintiffs cannot show that any First Amendment injury will be redressed by a

favorable decision. City's Opp'n at 13-17. In its Surreply, the City clarifies its

argument by stating that

      [t]he City Is not asking this Court to strike the referendum or reach the
      merits of its validity under Kemp v. Claxton.... The ultimate validity
      of the referendum is not before the Court in this case. However, the
      fact that the referendum is invalid, and therefore cannot be placed on
      the ballot, is a factor this Court should consider when weighing the
      equities and irreparable harm of the preliminary injunction motion.

City's Surreply at 1 (footnote omitted).

      The Georgia Constitution provides that "[t]he General Assembly may

provide by law for the self-government of municipalities and to that end is

expressly given the authority to delegate its power so that matters pertaining to

municipalities may be dealt with without the necessity of action by the General

Assembly." Ga. Const. art. IX, § II, para. II. Under the Municipal Home Rule Act


of 1965, "a municipal corporation may, as an incident of its home rule power,


amend its charter by following" one of two alternative procedures. O.C.G.A. § 36-


35-3(b). One of those procedures is the amendment to ordinances adopted by the




                                           18

                                                                                        24
      Case 1:23-cv-02999-MHC Document 31
                                      26 Filed 07/31/23
                                               07/27/23 Page 26
                                                             19 of 42
                                                                   32




municipal governing authority. Id. § 36-35-3(b)(l). The Municipal Home Rule

Act goes on to state:


      Amendments to charters or amendments to or repeals of ordinances,
      resolutions, or regulations adopted pursuant to subsection (a) of this
      Code section may be initiated by a petition, filed with the governing
      authority of the municipal corporation, containing, in cases of
      municipal corporations ... with a population of more than 100,000, at
      least 15 percent of the electors registered to vote in the last general
      municipal election.


Id, § 36-35-3(b)(2)(A).

      In Kemp v. City ofClaxton, 269 Ga. 173 (1998), the Supreme Court of

Georgia reviewed the decision of a superior court which determined that the

above-quoted language permitted city residents and business owners to submit a

petition to amend a resolution of the city council to close certain railroad grade

crossings. Id. at 173-74. The Supreme Court held that the superior court erred and

that the municipal home rule provision allowing petitions to repeal city ordinances

applied only to amendments to city charters and not to ordinances in general.

Id. at 175-76. It is based on this precedent that the City argues that the proposed

petition for a referendum election to repeal City of Atlanta Ordinance 21-0-0367

submitted to the Municipal Clerk on June 7, 2023, is not authorized by the




                                          19

                                                                                      25
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 27
                                                              20 of 42
                                                                    32




Municipal Home Rule Act of 1965 because it does not seek to repeal an

amendment to the City charter.8 City's Opp'n at 13-15.

      The continuing viability ofKemp was called into question in the recent

decision of the Supreme Court of Georgia in Camden County v. Sweatt, 315 Ga.

498 (2023). In Sweatt, a county board of commissioners approved a resolution

authorizing an agreement with a private corporation for the purchase of land to

construct a commercial rocket launch facility in the county. Id. at 499. A group of

citizens opposed to the project filed a petition under Article IX, Section II,

Paragraph I of the Georgia Constitution, the home rule provision affecting

counties, seeking a referendum on the issue of whether the board's resolution

should be repealed. Id. The county probate judge approved the petition, the

superior court denied the county's effort to reverse that decision, and the

referendum was upheld. Id. at 499-500.


      On appeal of the superior court's decision to deny declaratory relief, and

after a fulsome discussion of the history of home rule in Georgia, the Supreme

Court of Georgia reviewed the language of Article IX, Section II, Paragraph I of



8 Although no longer a party to this case, the State of Georgia has filed an amicus
brief also arguing that the City "has no independent authority to allow a
referendum that does not comply with state law." Non-Party State of Georgia's
Amicus Br. ("Amicus Br.") [Doc. 25] at 2.


                                           20

                                                                                      26
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 28
                                                              21 of 42
                                                                    32




the Georgia Constitution (the "Home Rule Paragraphs"), applicable to counties in

the Georgia Constitution. Unlike the Municipal Home Rule Act of 1965, the

county Home Rule Paragraphs provide that a county, as part of its home rule

power, may "amend or repeal the local acts applicable to its governing authority by

follow either of the procedures hereinafter set forth[.]" Ga. Const. art. IX, § I,

para. I(b). One of those procedures includes "[a]mendments to or repeals of such

local acts or ordinances, resolutions, or regulations adopted pursuant to


subparagraph (a)... by a petition filed with the judge of the probate court of the

county" containing a required number of signatures of electors depending upon the

population of the county. Id., art. IX, § II, para. II(b)(2). The Supreme Court

found that this language "plainly grants repeal and amendment powers to the

electorate for 'ordinances, resolutions, or regulations adopted pursuant to


subparagraph (a) in addition to local acts.' " Sweatt, 315 Ga. at 510. The

Supreme Court of Georgia also stated as follows:

      We recognize that our holding here is in tension with Kemp, 269 Ga. at
      175-76 (1), in which we construed the statutory home rule provisions
      applicable to municipalities under the Municipal Home Rule Act. That
      act contains a provision somewhat similar to subparagraph (b) of the
      Home Rule Paragraph and states that "a municipal corporation may, as
      an incident of its home rule power, amend its charter by following either
      of [two] procedures." O.C.G.A. § 36-35-3 (b). One of the prescribed
      procedures provides that



                                          21

                                                                                      27
Case 1:23-cv-02999-MHC Document 31
                                26 Filed 07/31/23
                                         07/27/23 Page 29
                                                       22 of 42
                                                             32




      [a]mendments to charters or amendments to or repeals of
      ordinances, resolutions, or regulations adopted pursuant to
      subsection (a) of this Code section may be initiated by a
      petition, filed with the governing authority of the
      municipal corporation....


O.C.GA. § 36-35-3 (b) (2) (A).

In Kemp, we determined that in granting a writ ofmandamus to compel
consideration of a petition to repeal a city ordinance under the
Municipal Home Rule Act, the trial court had erroneously relied upon
"the reference to 'amendments to or repeals of ordinances, resolutions,
or regulations/ found in OCGA § 36-35-3 (b) (2) (A)." Kemp, 269 Ga.
at 176(1). Reasoningthat"the very concept of home rule suggests that
the provisions of (b) (2) apply only to charter amendments," the Court
determined that because "[a]ll ofO.C.G.A. § 36-35-3 (b) is prefaced by
a statement that what follows are the methods by which a municipal
corporation may 'amend its charter/" the introductory language
showed "that the petition and referendum provision is intended to be
available only when the proposed amendment is intended to affect a
city charter." Id. Accordingly, the Court reversed the grant of
mandamus, holding "[a]s we must strictly construe the grant of
legislative power to the governing authority, [the Court] must reject
plaintiffs' argument that the electorate can directly exercise such
general legislative power," and that "[t]he petition procedure of
O.C.G.A. § 36-35-3 (b) (2) applies only to amendments to municipal
charters." Id.


Because, here, we are construing a completely separate legal provision,
the holding in Kemp does not control our decision in this case, and we
need not consider at this time whether Kemp should be overruled in
light of today's ruling. Nevertheless, we note that in reaching the
holding in Kemp, this Court dismissed some of the canons of
construction we apply in this case, stating, instead, that "the spirit and
intent of the legislation prevails over a literal reading of the language,"
and "[t]he legislative Intent will be effectuated even if some language
must be eliminated." Kemp, 269 Ga. at 175-76 (1).


                                    22

                                                                              28
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 30
                                                              23 of 42
                                                                    32




Sweatt, 315 Ga. at 511-13 (footnote and parallel citations omitted).

      Of course, this Court is "bound by the decisions of the Supreme Court of

Georgia on questions of Georgia law," Gonzalez v. Governor of Georgia, 978 F.3d


1266, 1271 (11th Cir. 2020) (citation omitted), and the Georgia Supreme Court has

not as yet overruled Kemp. But the issue of the ultimate validity of the proposed

referendum to City of Atlanta Ordinance 21-0-0367 is not ripe for decision by this

Court. In addition, as pointed out by Plaintiffs in their Reply Brief, the City of

Atlanta Charter appears to authorize petitions for referendum elections to repeal

ordinances:


      Section 2-501 - Initiative and referendum.


      (a) The council shall by ordinance prescribe procedures to govern
            the initiation, adoption, and repeal of ordinances by the
            electorate, and the counsel shall authorize an initiative or
            referendum election on petition of at least 15 percent of the
            registered voters qualified to vote in the preceding general
              municipal election.


City of Atlanta Charter § 2-501, enacted by the Georgia General Assembly in 1996

Ga. Laws 4470, 4493. In its amicus brief, the State of Georgia argues that this

does not provide the City with "alternative authority to conduct a referendum

process outside the general law contained in O.C.G.A. § 36-35-3." Amicus Br. at


2. Once again, the issue of the validity of the proposed referendum is not currently



                                          23

                                                                                       29
        Case 1:23-cv-02999-MHC Document 31
                                        26 Filed 07/31/23
                                                 07/27/23 Page 31
                                                               24 of 42
                                                                     32




before this Court, but only the issue of whether Atlanta Municipal Code § 66-3 7(b)

violates the First Amendment by requiring signature gatherers to be City residents.

        The City also argues that the proposed referendum is futile because if the

required number of signatures are obtained (15 percent of the registered voters of

the City) and if the referendum passes, the repeal of City of Atlanta Ordinance 21-

0-0367 would result in the impairment of the lease agreement between the Mayor

and the Atlanta Police Federation. City's Opp'n at 17-19. The issue of whether

the repeal of City of Atlanta Ordinance 21-0-0367 will result in the impairment of

an existing contract also is not ripe for review by this Court. See SDDS, Inc. v.

State ofS.D, 994 F.2d 486, 493 (8th Cir. 1993) ("The State admits in Its brief that

it would have been improper for Judge Zinter to rule on the constitutionality of the

Referendum because that issue was not yet ripe.").


        As discussed in the previous section, the inability of nonresidents to gather

signatures for the proposed referendum impacts their core political speech by

making it more difficult to obtain the required number of signatures to place the

initiative on the ballot. Because this Court finds that Plaintiffs are likely to

succeed on their First Amendment claim, Plaintiffs have established irreparable

harm.




                                           24

                                                                                        30
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 32
                                                              25 of 42
                                                                    32




      C. The Balance of Equities and the Public Interest Favor a
           Preliminary Injunction.

      The remaining two factors of the preliminary injunction standard, "harm to

the opposing party and weighing the public interest.. . merge when the

Government is the opposing party." Nken v. Holder, 556 U.S. 418, 435 (2009);

see also Swain v. Junior, 958 F.3d 1081, 1091 (llth Cir. 2020) ("[W]here the

government is the party opposing the preliminary injunction, its interest and harm

merge with the public interest."). The City argues that its interest in maintaining

the integrity of its political process and not disrupting the ongoing signature

gathering process outweigh Plaintiffs' First Amendment rights. City's Opp n at

19. This Court disagrees.

      The City has offered no specifics as to why permitting nonresident Plaintiffs

to gather signatures on a petition that must be signed by residents of the City will

cause any disruption to the political process. The City Council will have 50 days

to determine the validity of the petition once it is filed (assuming that the requisite

number of signatures can be gathered, which is far from certain), and one week

after the determination of the petition's validity, the City Council would then set a

date for the special election. Atlanta Municipal Code § 66-37(a). Unlike those

cases which deny the entry of preliminary injunctions because the request comes



                                           25

                                                                                          31
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 33
                                                              26 of 42
                                                                    32




too close to a scheduled election based on the Purcell9 principle, there can be no


special election scheduled for any referendum unless and until the requisite number

of signatures of City residents are gathered and the City Council determines the

petition's validity. The only delay that would occur based upon the entry of a

preliminary injunction is the additional time that would be provided for the City to

approve the distribution of another referendum petition that removes the residency

requirement for signature gatherers and a new 60-day period for Plaintiffs to

collect signatures. Because there is no election that is "close at hand, see League


of Women Voters, ofFla., Inc. v. Fla. Sec'v of State, 32 F.4th 1363, 1371-72 (11th


Cir. 2022), the burden on the City to approve the issuance of another referendum

petition and await the 60-day period for its filing (if enough signatures can be

collected) is significantly outweighed by the First Amendment rights of Plaintiffs

who have been denied the ability to gather signatures for the petition.

      Consequently, the Court finds that Plaintiffs have satisfied all four of the

required factors for the issuance of a preliminary injunction in this case.




9 Purcell v. Gonzalez, 549 U.S. 1 (2006).


                                            26

                                                                                       32
      Case 1:23-cv-02999-MHC Document 31
                                      26 Filed 07/31/23
                                               07/27/23 Page 34
                                                             27 of 42
                                                                   32




      D. The Ordinance is Severable.


      Finally, the City contends that if the Court strikes down the residency

requirement for signatures gatherers in Atlanta Municipal Code § 66-3 7(b), then it

would be required to strike the petition ordinance in its entirety. City's Opp'n at

21-23. "Severabillty of a local ordinance is a question of state law." Club

Madonna Inc. v. City of Miami Beach, 42 F.4th 1231, 1260 (llth Cir. 2022)

(citations omitted). "Under Georgia law, provisions of a statute or ordinance can

be severed if those provisions are not mutually dependent on the remaining

provisions and legislative intent is not compromised." Covent Christian

Ministries, Inc. v. City of Marietta, 654 F.3d 1231, 1240 (1 1th .Cir. 2011) (citations

omitted). Georgia law favors the severance of constitutionally infirm provisions of

a law as a means of allowing the non-offending portions of the law to remain in

effect. Union City Bd. of Zoning Appeals v. Justice Outdoor Displays, Inc., 266

Ga. 393, 403-04 (1996).

      In this case, striking only the portion of the sentence in Atlanta Municipal

Code § 66-3 7(b) that requires signature gatherers to be residents of the City of

Atlanta does not prevent the enforcement of the remainder of the ordinance nor are

the remaining provisions dependent upon the excised provision. The City argues

that this would fmstrate the provision of the State's Municipal Home Rule Act of


                                          27

                                                                                          33
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 35
                                                              28 of 42
                                                                    32




1965, which requires that signatures must be collected inside city limits. City s

Opp'n at 22 (citing O.C.G.A. § 36-35-3(b)(2)(C)). The City's argument fails.

First, the City ignores its own Code of Ordinances, which provides for severability

as follows:

      Sec. 1-10-SeverabilityofCode.


      The sections, paragraphs, sentences, clauses and phrases of this Code
      are severable, and if any phrase, clause, sentence, paragraph or section
      of this Code shall be declared unconstitutional, invalid or otherwise
      unenforceable by the valid judgment or decree of any court of
      competent jurisdiction, that unconstitutionality, invalidity or
      unenforceability shall not affect any of the remaining phrases, clauses,
      sentences, paragraphs or sections of this Code, since they would have
      been enacted without the incoq^oration in this Code of the
      unconstitutional, invalid or unenforceable phrase, clause, sentence,
      paragraph or section.


City of Atlanta, Code of Ordinances § 1-10. Clearly, the severing of the

unconstitutional portion of a single sentence from Atlanta Municipal Code § 66-

37(b) is consistent with the direction contained in the City's Code of Ordinances.

      Moreover, to the extent that the City argues that the Municipal Home Rule

Act does not contain its own severability clause. City's Opp'n at 23, it overlooks

the fact that the Georgia Code contains a general provision that presumes all

statutes are severable unless otherwise specifically indicated otherwise.

      Except as otherwise specifically provided In this Code or in an Act or
      resolution of the General Assembly, in the event any title, chapter,
      article, part, subpart, Code section, subsection, paragraph,
                                         28

                                                                                      34
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 36
                                                              29 of 42
                                                                    32




      subparagraph, item, sentence, clause, phrase, or word of this Code or of
      any Act or resolution of the General Assembly is declared or adjudged
      to be invalid or unconstitutional, such declaration or adjudication shall
      not affect the remaining portions of this Code or of such Act or
      resolution, which shall remain of full force and effect as if such portion
      so declared or adjudged invalid or unconstitutional were not originally
      a part of this Code or of such Act or resolution. The General Assembly
      declares that it would have enacted the remaining parts of this Code if
      it had known that such portion hereof would be declared or adjudged
      invalid or unconstitutional. The General Assembly further declares that
      it would have enacted the remaining parts of any other Act or resolution
      if it had known that such portion thereof would be declared or adjudged
      Invalid or unconstitutional unless such Act or resolution contains an
      express provision to the contrary.


O.C.GA. § 1-1-3. A number of cases have been decided in Georgia in which a

portion of a municipal ordinance has been declared unconstitutional and severed

from the remainder of the ordinance. See, e.g.. Covenant Christian Ministries, 854


F3d at 1240 (concluding that the district court did not err by severing the City s

ordinance by striking only those portions which offended federal law); Lamar

Advert. Co. v. City ofDouslasville, 254 F. Supp. 2d 1321, 1338 CN.D. Ga. 2003)

(severing five unconstitutional parts of the Douglasville sign ordinance from other

provisions that were not mutually dependent on them); Union City BcL of Zoning

Appeals v. Justice Outdoor Displays, Inc., 266 Ga. 393, 396-99 (1996) (concluding

that the stated purpose of the act was still served after the unconstitutional portions

of the ordinance were severed).




                                          29

                                                                                          35
       Case 1:23-cv-02999-MHC Document 31
                                       26 Filed 07/31/23
                                                07/27/23 Page 37
                                                              30 of 42
                                                                    32




      Therefore, the Court will sever only that portion of the sentence from

Atlanta Municipal Code § 66-3 7(b) which the Court finds violates the First

Amendment: "and to swear that such person is a resident of the city[.]"

IV. CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that Plaintiffs' Motion

for Preliminary Injunction [Doc. 2] Is GRANTED.

      Defendant City of Atlanta is PRELIMINARILY ENJOINED from

enforcing the portion of City of Atlanta, Ga. Code of Ordinances § 66-37(b) that

requires the person collecting signatures to swear that such person is a resident of

the City of Atlanta.

      The Court further ORDERS the following as a part of its preliminary

injunction relief:

       (1) The City of Atlanta Municipal Clerk shall issue official copies of the

              referendum petition to repeal City of Atlanta Ordinance 21-0-0367

              (the "Referendum Petition") that removes the requirement that the

              person collecting signatures swear that such person is a resident of the

              City of Atlanta.

       (2) The 60-day statutory period for the collection of signatures on the

              Referendum Petition shall restart on the date the Municipal Clerk


                                          30

                                                                                         36
Case 1:23-cv-02999-MHC Document 31
                                26 Filed 07/31/23
                                         07/27/23 Page 38
                                                       31 of 42
                                                             32




      provides official copies of the Referendum Petition that do not contain

      the requirement that the person collecting signatures must be a City of

      Atlanta resident.

(3) All properly collected and valid signatures that have been obtained

      since the Municipal Clerk's distribution of the petition to repeal City

      of Atlanta Ordinance 21-0-0367 on June 21, 2023, shall be counted

      with the properly collected and valid signatures on the Referendum

      Petition issued pursuant to this Court's Order to determine whether 15

      percent of the registered voters in the City of Atlanta have requested

      the repeal of City of Atlanta Ordinance 21-0-0367.

(4) Nothing In this Order shall affect the ability of the City of Atlanta to

      implement all of the remaining portions of City of Atlanta, Code of

      Ordinances § 66-3 7(b) except for the portion which states, "to swear

      that such person is a resident of the city[.]" More specifically, nothing

      in this Order prevents the Municipal Clerk from "providing a place on

      each form for the person collecting signatures to provide such




                                  31

                                                                                  37
Case 1:23-cv-02999-MHC Document 31
                                26 Filed 07/31/23
                                         07/27/23 Page 39
                                                       32 of 42
                                                             32




     person's name, street address, city, county, state, ZIP code and


     telephone number" or for that person to swear "that the signatures

     were collected inside the boundaries of the city.

IT IS SO ORDERED, this ^ /-^ay of July, 2023.




                               MARK H. COHEN
                               United States District Judge




                                 32

                                                                          38
     Case
      Case1:23-cv-02999-MHC
           1:23-cv-02999-MHC Document
                              Document31
                                       28 Filed
                                           Filed07/31/23
                                                 07/28/23 Page
                                                           Page40
                                                                1 of 3
                                                                     42




                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


LISA BAKER, JACQUELINE
DOUGHTERY, KENYANNA
JONES, and AMELIA WELTNER,

       Plaintiffs                          Case No. 1:23-cv-2999-MHC

v.

CITY OF ATLANTA,

      Defendants.


        DEFENDANT CITY OF ATLANTA’S NOTICE OF APPEAL

                                Robert L. Ashe
                              Ga. Bar No. 208077
                              ashe@bmelaw.com
                           Jane D. “Danny” Vincent
                              Ga. Bar No. 380850
                            vincent@bmelaw.com
                              Matthew R. Sellers
                             Ga. Bar. No. 691202
                             sellers@bmelaw.com

                     BONDURANT MIXSON & ELMORE LLP
                     1201 W. Peachtree St. NE, Suite 3900
                             Atlanta, GA 30309
                               404-881-4100

                     Attorneys for Defendant City of Atlanta




     #3564218v1

                                                                          39
      Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                               Document31
                                        28 Filed
                                            Filed07/31/23
                                                  07/28/23 Page
                                                            Page41
                                                                 2 of 3
                                                                      42




      Defendant City of Atlanta gives notice that it is taking an appeal from this

Court’s order [Doc. 26] granting Plaintiffs’ Motion for Preliminary Injunction [Doc.

2] to the United States Court of Appeals for the Eleventh Circuit.



      This 28th day of July, 2023.


                                             /s/ Robert L. Ashe III
                                             Robert L. Ashe III
                                             Georgia Bar No. 208077
                                             ashe@bmelaw.com
                                             Jane D. Vincent
                                             Ga. Bar No. 380850
                                             vincent@bmelaw.com
                                             Matthew R. Sellers
                                             Georgia Bar No. 691202
                                             sellers@bmelaw.com
                                             Bondurant, Mixson & Elmore, LLP
                                             3900 One Atlantic Center
                                             1201 W. Peachtree Street, NW
                                             Atlanta, GA 30309
                                             (404) 881-4100 – Telephone
                                             (404) 881-4111 – Facsimile

                                             Attorneys for the City of Atlanta




                                            1

                                                                                       40
      Case
       Case1:23-cv-02999-MHC
            1:23-cv-02999-MHC Document
                               Document31
                                        28 Filed
                                            Filed07/31/23
                                                  07/28/23 Page
                                                            Page42
                                                                 3 of 3
                                                                      42




                         CERTIFICATE OF SERVICE

      I hereby certify that, on July 28, 2023, I served a true and correct copy of the

within and foregoing DEFENDANT CITY OF ATLANTA’S NOTICE OF

APPEAL by filing it with the Court’s electronic filing system, which will serve a

copy on all counsel of record.

                                                    /s/ Robert L. Ashe III
                                                    Robert L. Ashe III
                                                    Georgia Bar No. 208077




                                             2

                                                                                         41
